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                     IN TH E U N ITE D STATE S D ISTR ICT C O U R T
                    FOR TH E SOUTHERN DISTRICT O F FLO RIDA

                              CaseNo.1:16-CV-20343-DM M

 M ELANIE E.DAM IAN,asReceiverofHunter
 W iseComm odities,LLC,HunterW ise
 Services,LLC,HunterW ise Credit,LLC,
 and HunterW ise Trading,LLC,

              Plaintiff,


 INTERNATIONAL M ETALS TRADING &
 m VESTM ENTS,LTD.and BILL PERRY,

              Defendants.
                                                /

    O R DER A ND O PIN IO N D ENY ING D EFEN DA N T BIL L PER RY 'S M O TIO N S T O
                                      DISM ISS

       THIS CAUSE comesbefore the Courtupon Defendants BillPeny's($tPen'
                                                                       y'')multiple
 pro se M otionsto Dismisswith Prejudice (isMotions''),filed between December29,2016 and
 January25,2017. (DE 38,42,44,45,51,& 52).PlaintiffM elanieE.Damian,Receiverforthe
 HunterW iseEntities(thedtReceiver'),filedanOmnibusResponsein oppositionto theM otions
 on January 27,2017 (DE 53),to which Perry replied On February 7,2017 (DE 55). Forthe
 reasonsstated below,theM otionsaredenied.

                                         BACKG RO UND

       This action was brought pursuant to the Receiver's powers and responsibilities, as

 desned by the Courtin the action styled United States Commodity Future Trading Comm '
                                                                                     n v.

 Hunter Wise Commodities, LLC, et al., Case No. 12-8131l-clv-M iddlebrooks (the
 'ûReceivership Action''). (DE 1,hereinafter ûicomplaint''or t'Compl.''at!! 1-3, 12). The
 underlyingclaim in the Receivership Action concerned the HunterW ise Entities'violation ofthe
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 Dodd-Frank Act. That violation,orchestrated by Hunter W ise's principals,was based on a

 schem e to defraud customers by enticing them to purchase physicalprecious metals thzough

 intermediary dealers(Compl.at!!21-27),when in factthecustomersdidnotreceivetitletoany
 physicalmetalsandtheHW entitiesdidnotpossessorstoremetalsontheirbehalf.(1d.at!35).
 Rather,the customers'orders were ultimately aggregated into Hunter W ise's own derivative

 trading accounts for metal futures or forward contracts. (1d.at !! 30-37). Hunter W ise
 compensated dealersinvolved in the scheme éiwith aportion ofthe feesand chargespaid by the

 customersforthetransactions.''(1d.at!25). Afterprotractedlitigation initiated bytheCFTC,
 theCourtissuedan OrderofFinalJudgment,PermanentInjunction,CivilM onetary Penaltyand
 OtherEquitable Reliefagainstthe Hunter W ise Entities,which ordered those entities and their

 principalstopayrestitutiontotheircustomers.(f#.at!g46;seeReceivershipAction,DE 306).
        In the instantaction,the ReceiverallegesthatDefendantInternationalM etalsTrading &

 Investments,Ltd.CùlnternationalM etals'')wasoneofthedealerentitiesthat'dworkledjto solicit
 customersand execute financed transactionswith the HW Entities.'' (Compl.at! 18). The
 Receiver alleges further that Perry tiwas the President and sole shareholder''of Intem ational

 M etals, that he managed its operations,personally solicited customers on behalf of the HW

 Entities, and facilitated fraudulent transactions between lnternational M etals and the HW

 Entities. (f#.at! 19). In addition,the Complaintallegesthatone ofthe HW Entities,HW
 Credit,transferred a totalof$564,335.59 in fourseparate transactionsto InternationalM etals as

 commissionsforitssolicitations.(1d.at!!49-50,53).Thismoney,saystheComplaint,derived
 from fundsthattheHW Entities'customershadinvested.(1d.at!52).Purportedly,thesefunds
 werethentransferredfrom lnternationalMetalstoPerry.(1d.at!51).
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        TheReceiverbringsthzeecausesofaction againstDefendants,two forfraudulenttransfer

 under a California state statute (id.at !! 59-68; 69-79) and one for common 1aw unjust
 enricbment(/#.at!!80-84). Perry seeksto dismisstheComplainton variousjurisdictionaland
 procedural grounds, and also strenuously denies the factual allegations contained in the

 Complaint.

                                        LEGAL STANDARD

        A motionpursuanttoFederalRuleofCivilProcedure 12(b)(1)isoneto dismissforlack
 ofsubjectmatterjurisdiction. SeeFed.R.Civ.P.12(b)(1). A defendantcan moveto dismiss
 underRule 12(b)(1)by either facialorfactualattack. McElmurray v.Consolidated Gov'tof
 Augusta-Richmond County 501 F.3d 1244,1251 (11th Cir.2007). itA facialattack on the
 com plaintrequiresthe courtmerely to look and see iftheplaintiffhassufficiently alleged a basis

 ofsubjectmatterjurisdiction,and the allegations in his complaint are taken as true for the
 Purposesofthe motion.'' 1d. (quotationsand citationsomitted),! By contrast,a factualattack on

 acomplaintchallengestheexistenceofsubjectmatterjurisdiction using extrinsicevidence,such
 asaffidavitsortestimony. Id Theburden forestablishing federalsubjectmatterjurisdiction
 restswiththeparty bringingtheclaim.SeeMccormickv.Aderholt,293F.3d 1254,1257(1lth

 Cir.2002).
        W here,as here,a districtcourtdoes not hold an evidentiary hearing on a motion to

 dismiss for lack of personaljurisdiction,K%the plaintiff mustestablish a prima facie case of
 personaljurisdiction.'' M elgarejo v.Pycsa Panama,S.A.,537 F.App'x 852,863 (11th Cir.
 2013)(citingMut.Serv.Ins.Co.v.Fritlndus.,Inc.,358F.3d 1312,1319(11thCir.2004)).i$A
 primafacie caseisestablished ifthe plaintiffpresentssufficientevidenceto defeata motion fora


 'Forthisreason,and asIhavepreviously explained to Perry,hisattackson them eritsofthe case
 are,atthisstage,prem ature.
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 directed verdict. Thedistrictcourtmustconstruethe allegationsin the complaintastrue,to the

 extentthey are uncontroverted by defendant's affidavits or deposition testim ony,'' M orris v.

 SSE,fncv,843 F.2d 489 (11th Cir.1988);seealso Madara v.Hall,916 F.2d 1510,1514 (1lth
 Cir.1990).iiW here...thedefendantsubmitsaffidavitstothecontrary,theburden traditionally
 shihs back to the plaintiffto produce evidence supportingjurisdiction unlessthose affidavits
 containonlyconclusoryassertionsthatthedefendantisnotsubjecttojurisdiction.''Meierexrel.
 Meierv.Sun 1nt1Hotels,Ltd ,288 F.3d 1264,1269 (11th Cir.2002). 'iW heretheplaintiffs
 complaint and supporting evidence contlict with the defendant's affidavits,the court must

 construeal1reasonable inferencesin favorofthe plaintiff'' Id

                                           DISCUSSION

        Asa threshold matter,the Receiverarguesthatthe Courtshould notreach the m eritsof

 Peny'sgroundsfordismissalbecause hehasalready answered theComplaint,meaning thatany

 subsequently filed motion to dismissisprocedurallybarred. SeeFed.R.Civ.P.12(b)(motion
 underthisprovision mustbe filed ddbefore''submitting responsivepleading). Ideclineto apply
 thatprinciple, The disposition ofthiscase isunusualin thatPerry neverfiled a documentself-

 styled asan answer. Rather,the Courtconstrued thedocumentPerry submitted upon m aking an

 initialappearance (DE 30)asan answerbecause itaddressed the meritsofthe allegations(see
 DE 31),though itwas labeled a SsM otion to Dismiss''(DE 30 at1). Since the FederalRules
 Siwere notadopted to settraps and pitfalls by way oftechnicalities for unwary Iitigants'',Des
 lslesv.Evans,225F.
                  2d235,236(5thCir.1955),Ientertain themeritsofPerry'sh4otions.z
        Pen'y assertsthatthe Courtlacks supplementaljurisdiction to hearthis case. See 28
 U.S.C.j 1367(a). However,iigijtiswell-established thata federaldistrictcour.
                                                                            thas subject

 2Conversely,ldo not discuss Perry's various grievances relating to discovery and scheduling
 issues,whicharenotrelevantto am otion to dismissand havebeen addressed in otherorders.
                                               4
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 matterin ancillary actionsbroughtin the courtwhere thereceiverisappointed 1to accomplish the

 endssoughtand directed by the suitin which the appointmentwasm ade.''' Am.Freedom Train

 Found.v.Spurney,747 F.2d 1069,1073 (1stCir.1984)(quotingPopev.fouisville,New Albany
 & ChicagoRy.Co.,173U.S.573,577(1899));accordRobbEvans& Assoc.,LLC v.Holibaugh,
 609F.3d359,363(4thCir.2010);Donnellv,Kowell,533F,3d762,769(9thCir.2008);Scholes
 v.fehmann,56 F.3d 750,753 (7th Cir.1995);United Statesv.Franklin Nat'1Bank,512 F.2d
 245,249 (2d Cir.1975). Here,thisCourtappointed Damian asReceiverin the Receivership
 Action in orderto recoverthetypeoffundssoughtin the presentaction. Accordingly,the Court

 hassupplementaljurisdiction overtheComplaint'sstatecourtclaimsSkirrespective ofdiversity,
 amountin controversy oranyotherfactorwhich would normally determinejurisdiction.''Haile
 v.HendersonNat1Bank,657F.2d816,822(6thCir.1981).
        Next,the Courtconstrues Perry's M otionsto dispute personaljurisdiction overboth
 himselfand hiscompany. Aspriororders in thiscase stressed (see DE 31at2,n.1;DE 32),
 Perry carmotrepresentDefendantInternationalM etalsbecause corporate entitiesmay notappear

 prose.Theymustberepresented bycounselin a1ldealingswith theCourt.Palazzov.Gulfoil
 Corp.,764 F.2d 1381,1385(11th Cir.1985).Inanyevent,personaljurisdictionoverbothPerry
 and InternationalM etalsexistspursuantto the federalreceivership statutes. The FederalRules

 make service an effective means ofestablishing personaljurisdiction when itis specifically
 i'authorized byafederalstatute.''Fed,R.Civ.P.4(k)(1)(C).28 U.S.C.j 1692 issuchastatute,
 since itallows Siprocess (to beq issueld) and ((lexecutedgdl''- and therefore in personam
 jurisdiction tobeexercised- in any federaldistrictwherereceivershipproperty3isiibelieved''to


 'Suspected Ciproperty''need notbe fitangible''or'inonfungible'' butm ay referto liquid assetsas
 well. Carney v.Horion lnv.Ltd ,107 F.Supp.3d 216,226-27 (D.Conn.2015)(exercising
 jurisdiction where property upon which nationwide service was based included cash and real
                                               5
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 exist,so long asthereceiveradherestothenotification requirementssetforth in j754.S.E.C.v.
 Bilzerian,378 F.3d 1100,1103-04 (D.C.Cir.2004);Hailes657 F.2d at823. ln thiscase,the
 Receiver avers that she followed j 754's notice requirements (Compl. at ! 8) and has
 demonstrated proper service of process upon both Perry and Intem ational M etals.4 secause

 service svasproper,theCourthaspersonaljurisdiction ofDefendantsin thiscase underRule
 4(k)(1)(C).
        In a related argument,Perry suggests thatthe Receiverhasnot sued the correctentity.

 Thatis because,according to Perry,the referenced transactions were m ade between the HW
 Entities and a dissolved com pany form ed in the British Virgin Islands.5 Perry believes this

 distinction criticalbecause,in hisview,the Courtcannotexercisejurisdiction overa foreign
 com oration. Thatisnotthe case. Asan initialmatter,the plaintiffism asterofherlawsuitand

 may select,rightly orwrongly,which entity to sue, See Jean v.Nelson,711 F.2s 1455,1487

 (11th Cir.1983)(survivalof motion to dismiss ksbased solely on evidence presented by the
 Plaintiff'l.6 Therefore,a defendant'sbeliefthatthe iiwrong''corporation hasbeen sued diis a


 estateholdings). lnaddition,mostcourtsintemretj 1692'sreferenceto 'lexecution''ofprocess
 topenuitnotjustequitableordersbutalso inpersonam moneyjudgments.Bilzerian,378F,3dat
 1105-06.
 4Perry insiststhatseN ice wasimproperbecausehe wasneveractually notified ofthe suitby the
 m ethods employed. However, the Receiver Gled proof of unsuccessful service attempts at
 Perry's prior addresses before seeking the Court's authorization to serve him by publication.
 (DE 17 & Ex.A thereto). Pursuantto Courtorder,the Receiverthen published notice ofthe
 action in Palm Beach,Florida and in the Chicago Daily Bulletin (DES20 & 21),the second of
 whichcorrespondedto Perry'smostrecently documented location (DE 17). Asto International
 M etals, the Comm issioner of Com merce, Comm unity, and Econom ic Development is the
 appropriate agentfor service ofprocess when,ashere,a com oration iifails to appointorm aintain
 aregisteredagent.''Ala.Stat.j10.06.175;(DE 13& Ex.A thereto).
 5Perry notesthatDefendantInternationalM etals,theAlaskacorporation and currentDefendant,
 isalso adissolved corporation.
 6Thatis,unlessa defendantcan satisfy the heavy burden ofproving thathe/itwas fraudulently
 joined.Seegenerally Cabalceta v.StandardFruitCo.,883F.2d 1553,1561-62 (11thCir.1989)
 (settingforthstandardforfraudulentjoinder).Perryhasnotattempted suchashowing.
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 factualissuerelatedto themerits,notajurisdictionalissue.'' MachteckIndus.Co.v.Shah,No.
 05-0645-W -ODS,2005 W L 2065247,at +2 (W .D.Mo.Aug.24,2005). In this case,the
 Receiver chose to sue a dom estic corporation,and thatchoice controls. Second,a dissolved

 corporation is notim mune from litigation,because,underFlorida law,its iicom orate existence''

 continuesaherdissolution. fevine v.fevine,734 So.2d 1191, 1196 (F1a.2nd DCA 1999)
 (citing Fla. Stat. j 607,1405(2)(e), (9).7 Third,district courts have found that personal

 jurisdictionexistsoverforeign corporationsand citizenswho are alleged topossessfraudulently
 obtained receivership property thatthe receiverbelieves isheld in the United States. See,e.g.,

 Carneyv.Horionlnv.Ltd.,107F.Supp.3d 216,226-27(D.Conn.2015)(findingthatserviceof
 processcreatedjurisdictionoveraVenezuelan citizenandhisBritish Virgin Island and Belizean
 shellcompanies);Carney v.Beracha,996 F.Supp.2d 56,67-70 (D.Corm.2014)(rejecting
 argumentthatdistrictcourtcould exercisejurisdiction overVenezuelan citizen and hisBritish
 VirginIsland alteregocompaniesonlythrough internationalconventionsl;Carneyv.fopez,933
 F.Supp.2d 365,374 (D.Conn.2013)(personaljurisdiction exercised overCostaRican citizens
 thatheldbank accountsin Floridaand New York). Thus,inpersonam jurisdiction existsover
 Perry and lnternationalM etals- and would even ifthe latterwasa foreign corporation.g

        Finally,Perry arguesthatthe presentaction againsthim isnotproper because he never

 contracted with theHW Entitiesasan individual. However,theclaim sasserted againstPerry do

 notrequirecontractualprivity.UnderCalifornia'sUniform FraudulentTransferAct(kiUFTA''),


 7To the extentA laska law govem sthisissue,the suprem e courtofthatstate has also determ ined
 that the local survival statute, Alaska Stat. 10.06.678, iiexpressly permits'' post-dissolution
 lawsuitsagainstcorporations. Gossman v.Greatland D irectionalDrilling,lnc.,973 P.2d 93,96
 (Alaska 1999).
 8l caution,however,thatbefore this Courtenters a defaultjudgment against International
 M etals,theReceivermustrevealherbasisforbelievingthatassetsexistinthedistrictswherej
 754noticeswere filed.
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 the transferee offundsobtained through a fraudulentschem e may be held liable forthe fraud if

 hehadt'dominion overthemoney orotherassetgorqtherighttoputthemoney orassettoone's
 own purposes.'' ln re C.
                        't?/lca,199 B.R.709,715 (B.A.P.9th Cir.1996)(quoting Danning v.
 Miller (In re Bullion Reserve), 922 F.2d 544,548-49 (9th Cir.1991)) (internalalterations
 omitted).ltistruethatatransfereewho acceptsatransferor'sill-gotten fundsin goodfaithmay
 escape liability,but good faith does notexist where the transferee colluded in the fraudulent

 scheme orhad ttactualknowledge offactswhich would suggestto a reasonable person thatthe

 transferwasfraudulent,''CyberM edia,Inc.v.SymantecCorp.,19 F.Supp.2d 1070,1075(N.D.
 Cal.1998);see also Plaza Bank v.Green,599 F.App'x 801,802 (9th Cir.2015)(articulating
 sameprincipleon good faith defense in connection withanalogousNevadastatute), Similarly,
 with respectto theunjustenrichmentcount,iia transfereewith knowledge ofthe circumstances
 givingriseto (that)claim maybeobligatedtomakerestitution.''FirstNationwideSav.v.Perry,
 11Cal.App.4th 1657,1663 (Ca1.Dist,Ct.App.1992). Here,the ReceiverallegesthatPerry
 wasthepresidentand sole shareholderoflnternationalM etals. Assuming thatrelationship to be

 true,Perry would have had complete dom inion overIntem ationalM etals and would necessarily

 havehad knowledge aboutthe natureofthetransfersbetween itand HW Credit. TheCom plaint

 further alleges that the funds transferred from HW Credit to lnternationalM etals were later

 transferred to Perry. Accordingly,Perry may be held liable in his personal capacity as a

 transfereeofthe fundsin question.

        Fortheforegoingreasons,DefendantBillPerry'sM otionstoDismisswithPrejudice(DE
 38,42,44,45,51,& 52)areDENIED. lnaddition,1notethatPerry hasnow filed successive
 motions to dismiss, which is contrary to the isconsolidation rule''according to which iithe

 defendantadvancesevery availableRule 12 defense sim ultaneouslyratherthan interposingthese


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 defensesandobjectionsin piecemealfashion.'' Leysev.BankofAm.Nat1Ass'n,804F.3d 316,
 320(3dCir.2015)(citationomitted);seeFed.R.Civ.P 12(g)(2),Perry'spiecemealfilingshave
 m orethan exhausted hisrightto challengethe adequacy ofthe Receiver'spleadings. Therefore,

 in the future,the Courtwillnotentertain another motion to dismiss unless it conform sto the

 exceptionsprovidedinRule12(h)(2)or(3).
        SO ORDERED in ChambersatW estPalm Bea           Florid   '       ay ofM arch, 17.



                                            O     D M .M IDDLEBROOKS
                                           UN ITED STATES DISTRICT JUDGE
 Copiesto:CounselofRecord;
          BillD.Peny,pro se
          141W .Jackson St.
          Chicago,IL 60604




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